                                                            ELECTRONICALLY FILED
                                                       COURT1OF
      Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page:    ofCOMMON  PLEAS#: 46
                                                                   11 PAGEID
                                                       Tuesday, December 17, 2013 10:34:43 AM
                                                            CASE NUMBER: 2013 CV 07673 Docket ID: 18716085
                                                            GREGORY A BRUSH
                                                            CLERK OF COURTS MONTGOMERY COUNTY OHIO


        IN THE MONTGOMERY COUNTY, OHIO COURT OF COMMON PLEAS
                           CIVIL DIVISION

JOHN ALEXANDER                              :       CASE NO.
43 Missouri Avenue
Dayton, Ohio 45410                          :       JUDGE

         and                                :

MISTY STAMPER                               :       COMPLAINT FOR VIOLATION
43 Missouri Avenue                                  OF CIVIL RIGHTS, RELATED
Dayton, Ohio 45410                          :       TORTS; JURY DEMAND
                                                    ENDORSED HEREON
         Plaintiffs                         :

VS.                                         :

CITY OF DAYTON, OHIO                        :
101 West Third Street
Dayton, Ohio 45402                          :

and                                         :

OFFICER MICHAEL WOLPERT                     :
Individually and in his Official
Capacity as an Officer of the               :
City of Dayton Police Department
335 W. Third St.                            :
Dayton, Ohio 45402
                                            :
and
                                            :
OFFICER JASON OLSON
Individually and in his Official            :
Capacity as an Officer of the
City of Dayton Police Department            :
335 W. Third St.
Dayton, Ohio 45402                          :

                                            :
         Defendants.


         Now come Plaintiffs John Alexander and Misty Stamper, by and through counsel, and

assert the following for their Complaint:

                                                1
     Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 2 of 11 PAGEID #: 47




                                        INTRODUCTION

1.      This Complaint arises out of the wrongful use of force upon Plaintiff John Alexander by

        Defendants and the wrongful search of Plaintiffs’ home, on December 19, 2012, in

        violation of Plaintiffs’ constitutional rights, within and outside of the Defendants’ official

        duties and arising out of the grossly negligent, reckless, wanton, intentional, and legally

        malicious conduct of the Defendants, jointly and severally, including, but not limited to

        the following:

        A.      entering Plaintiffs’ home without a search warrant or legally sufficient cause;

        B.      the unlawful and unreasonable use of force against Plaintiff Alexander, causing

        injury to Plaintiff.

                                       JURISDICTION

     2. This Court has jurisdiction over Plaintiff’s claims presented in this Complaint based upon

        the laws of the United States, specifically 42 U.S.C. Section 1983, pursuant to Jackson v.

        Kurtz, 65 Ohio App.2d 152, 156-157, 416 N.E.2d 1064 (1979).

3.      This Court has original jurisdiction over Plaintiff’s claims presented in this Complaint

        based upon the laws of the State of Ohio pursuant to R.C. 2305.01.

                                              VENUE

4.      Plaintiff’s claims may be brought in this Court pursuant to Ohio Rule of Civil Procedure

        3(B)(1), because, upon information and belief, one or more of the named Defendants

        reside within Montgomery County.

5.      Plaintiff’s claims may be brought in this Court pursuant to Ohio Rule of Civil Procedure

        3(B)(3), because all or part of the claim for relief arose within Montgomery County.




                                                  2
      Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 3 of 11 PAGEID #: 48




6.       Plaintiff’s claims may be brought in this Court pursuant to Ohio Rule of Civil Procedure

         3(B)(4), because one or more of the named Defendants is a public official with his

         principal office within Montgomery County.

                                              PARTIES

7.       Plaintiffs are and were, at all times relevant, citizens and residents of the City of Dayton,

         Montgomery County, Ohio. Plaintiffs John Alexander and Misty Stamper are husband

         and wife.     Mr. Alexander was the victim of an unlawful assault at the hands of

         Defendants Wolpert and Olson, as described herein.

8.       Defendant City of Dayton is a political subdivision of the State of Ohio located in

         Southwestern Ohio. Defendant City is the employer of the other Defendants.

9.       Defendants Michael Wolpert and Jason Olson are employees and officers of the City of

         Dayton Police Department, holding the rank of Patrol Officer. The claims pleaded herein

         are asserted against Defendants Wolpert and Orick in both their official and individual

         capacities.

                                               FACTS

10.      This incident occurred on December 19, 2012, at the home of Plaintiff John M.

         Alexander, Sr., located at 43 Missouri Avenue, Dayton, Ohio 45410 in Montgomery

         County, where he resides with his wife, Plaintiff Misty R. Stamper.

11.      On December 19, 2012, two Dayton Police Department officers, Defendants Wolpert and

         Olson, visited the Alexander/Stamper residence looking for John Alexander’s mother,

         Elizabeth Alexander, whose vehicle they had seen parked on the street outside.

12.      When Ms. Stamper answered the door, both she and Mr. Alexander told the officers that

         his mother was not there.



                                                   3
      Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 4 of 11 PAGEID #: 49




13.      When Ms. Stamper did not give the officers permission to search their home, the officers

         grabbed her arm and pushed her out of the way. The officers proceeded to enter the

         home without permission.

14.      When the police officers searched the residence and found that Elizabeth Alexander was

         not, in fact, present, they began to leave the residence.

15.      Before the officers left the residence, they asked for Mr. Alexander’s identification,

         which he provided to them.

16.      Mr. Alexander and Ms. Stamper decided to wait on the porch outside as the officers were

         checking his identification. The officers handed Mr. Alexander his I.D. card back and

         turned around and walked away.

17.      As the officers walked away, they made some rude comments to Mr. Alexander, then

         turned around and charged back up onto the porch, grabbing Mr. Alexander, then

         throwing him off the porch steps, over the porch rail and into a flower bed.

18.      The officers then dragged Mr. Alexander out of the flower bed and into the yard, where

         they continued to push him around as they were hitting him and kneeing him.

19.      Once the officers realized that some of the neighbors were watching them, they stopped

         and again began to leave. As they were leaving a second time, they once again turned

         around to charge Mr. Alexander, but since he had already gone inside his house, the

         officers instead told Ms. Stamper that he was “lucky” and then left.

20.      Once the officers were gone, Mr. Alexander went to the hospital to seek treatment for the

         injuries he had suffered.

                                       CAUSES OF ACTION

                                     FIRST CAUSE OF ACTION
                                        (Assault and Battery)

                                                   4
      Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 5 of 11 PAGEID #: 50




21.      Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint as if

         fully rewritten herein.

22.      Defendants Wolpert and Olson, as pleaded herein, intended to cause and did cause

         Plaintiff Alexander to anticipate harmful physical contact with themselves and/or their

         weapons, without privilege to do so.

23.      Defendants Wolpert and Olson, as pleaded herein, intended to cause and did cause

         Plaintiff Alexander to experience harmful physical contact with themselves and/or their

         weapons, without privilege to do so.

24.      As a proximate result of this anticipation and contact Plaintiff was injured.

25.      Plaintiff is entitled to compensatory and punitive damages for his injuries as a result of

         Defendants’ actions.

                                SECOND CAUSE OF ACTION
             (Violation of Constitutional Rights pursuant to 42 U.S.C. 1983 et seq.)

26.      Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint as if

         fully rewritten herein.

27.      The conduct of Defendants Wolpert, Olson, and the City of Dayton violated the

         constitutional rights of Plaintiffs under the Fourteenth Amendment to the U.S.

         Constitution, as well as their right to be free from unlawful search and seizure under the

         Fourth Amendment to the U.S. Constitution, their right to be free from Cruel and

         Unusual Punishment under the Eighth Amendment to the U.S. Constitution, and their

         right to Due Process of Law.

28.      The aforesaid conduct of the Defendants, jointly and severally, was conducted under

         color of state law and while allegedly acting in their official capacity, even when acting

         outside of the limits of their official authority.

                                                     5
      Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 6 of 11 PAGEID #: 51




29.      As a proximate result of the aforesaid constitutional rights violations and unlawful

         conduct by the Defendants, jointly and severally, Plaintiffs suffered damages and injuries,

         requiring compensatory and punitive damages.

30.      The Defendants have jointly and severally participated, violated, adopted, ratified, and

         otherwise are proximately responsible for all the acts and wrongful conduct of each, and

         together as an entity.

31.      All of the aforesaid conduct was done with a substantial lapse of due care, willfully,

         wantonly, recklessly, or with a greater degree of culpability which was substantially

         certain to result in injury, and in the case at bar did proximately result in injuries to

         Plaintiffs.

32.      Plaintiffs are entitled to recover compensatory and punitive damages as a result of

         Defendants’ actions and omissions.

                                     BRANCH ONE
  (Unnecessary, Excessive Use of Force/Cruel and Unusual Punishment, Violation of Civil
                              Rights under 42 U.S.C. §1983)

33.      Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint as if

         fully rewritten herein.

34.      Defendants Wolpert and Olson used unnecessary force against Plaintiff Alexander.

35.      Defendants Wolpert and Olson, without privilege or cause to do so, unlawfully entered

         Plaintiffs’ home, then later threw Plaintiff Alexander to the ground, and struck Mr.

         Alexander with the intention of causing pain and or injury to him.

36.      The actions of Defendants Wolpert and Olson constituted an excessive use of force, an

         unreasonable seizure and deprived Plaintiff of his right to be free from an unlawful




                                                  6
      Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 7 of 11 PAGEID #: 52




         seizure and his right to be free from cruel and unusual punishment as guaranteed by the

         Federal Constitution and Federal law.

37.      The actions of Defendant the City of Dayton, including but not limited to failing to

         investigate the incident, indicate the City’s ratification of the actions of the individual

         Defendants, making the City liable for the actions of the individual Defendants.

38.      Plaintiffs are entitled to recovery for Defendants’ violations of their rights as guaranteed

         by the United States Constitution and Federal Law, pursuant to 42 U.S.C. §1983.

                                     BRANCH TWO
  (Unlawful Entry; Unconstitutional Search and Seizure, Violation of Civil Rights under 42
                                      U.S.C. §1983)

39.      Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint as if

         fully rewritten herein.

40.      Defendants Wolpert and Olson asked permission of Plaintiff Misty Stamper to enter

         Plaintiffs’ home. Plaintiff refused the Defendants permission to enter her home. Plaintiff

         was within her constitutional rights to do so.

41.      Defendants Wolpert and Olson did not have a warrant to search Plaintiffs’ home.

42.      Defendants Wolpert and Olson did not have probable cause to believe that a crime was

         being committed within Plaintiffs’ home, nor did Defendants have any other legal cause

         or justification to enter Plaintiffs’ home.

43.      Defendants Wolpert and Olson entered Plaintiffs’ home without permission to do so,

         without a warrant to do so, and without legal cause or right to do so.

44.      Defendants Wolpert and Olson then used their physical strength to attack Plaintiff John

         Alexander without a warrant and without any probable cause to believe that Plaintiff

         Alexander had committed any crime.



                                                       7
      Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 8 of 11 PAGEID #: 53




45.      The acts of Defendants Wolpert and Olson in attacking Plaintiff Alexander, ultimately

         resulting in physical injury to him and endangering his health, created a substantial risk

         of death or great bodily harm, and deprived Plaintiff Alexander of his right to be free

         from illegal search and seizure in violation of the United States Constitution and Federal

         Law.

46.      The actions of Defendant the City of Dayton, including but not limited to failing to

         investigate the incident, indicate the City’s ratification of the actions of the individual

         Defendants, making the City liable for the actions of the individual Defendants.

47.      Plaintiffs are entitled to recovery for Defendants’ violations of their rights as guaranteed

         by the United States Constitution and Federal Law, pursuant to 42 U.S.C. §1983.

                                     BRANCH THREE
(Deficient Policy of Hiring, Employment and Supervision of Officers, Violation of Civil Rights
                                   under 42 U.S.C. §1983)

48.      Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint as if

         fully rewritten herein.

49.      Defendant the City of Dayton and other Defendants in their Official Capacity engaged in

         a custom or policy of hiring unqualified officers who exhibited deliberate indifference to

         the constitutional rights of individuals like Plaintiffs, including, but not limited to, the

         hiring or retention of individuals with past histories of violence.

50.      Defendant the City of Dayton and other Defendants in their Official Capacity,

         furthermore, engaged in a custom or policy of employing and supervising police officers

         that exhibited deliberate indifference to the constitutional rights of individuals like

         Plaintiffs.




                                                   8
      Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 9 of 11 PAGEID #: 54




51.      Defendant the City of Dayton and other Defendants in their Official Capacity,

         furthermore, engaged in a custom or policy with respect to the use of force by police

         officers that exhibited deliberate indifference to the constitutional rights of individuals

         like Plaintiffs.

52.      Defendants Wolpert’s and Olson’s unconstitutional use of force against Plaintiff John

         Alexander, which resulted in injury to Mr. Alexander, was a direct and proximate result

         of the deliberate indifference of the other Defendants with respect to the hiring and

         supervision of officers like Defendants Wolpert and Olson.

53.      Plaintiffs are entitled to recovery for Defendants’ violations of their rights as guaranteed

         by the United States Constitution and Federal Law, pursuant to 42 U.S.C. §1983.

                                   THIRD CAUSE OF ACTION
                                      (Loss of Consortium)

54.      Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint as if

         fully rewritten herein.

55.      Plaintiffs John Alexander and Misty Stamper are husband and wife.

56.      The tortious actions and inactions of Defendants Wolpert, Olson and the City of Dayton

         caused injury to Plaintiff John Alexander.

57.      As a direct and proximate result of the tortious actions and inactions of Defendants,

         Plaintiff Misty Stamper, immediately following the aforesaid incident, and for an

         extended period of time thereafter, has been forced to suffer the loss of consortium,

         companionship, society, and services of her husband, the Plaintiff John Alexander, and

         due to the severe and permanent nature of his injuries, shall be forced to suffer a loss of

         consortium, companionship, society and services of her husband into the future.




                                                  9
      Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 10 of 11 PAGEID #: 55




58.      Plaintiff is entitled to recover compensatory and punitive damages as a result of

         Defendants’ actions and omissions.

                                CLAIM FOR PUNITIVE DAMAGES

59.      Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint as if

         fully rewritten herein.

60.      The conduct of Defendants as pleaded herein was undertaken maliciously, intentionally,

         willfully, wantonly, recklessly, and/or with a substantial disregard for the rights of

         Plaintiffs, and was substantially certain to result in harm to Plaintiffs.

61.      Plaintiffs are thus entitled to an award of punitive damages for Defendants’ wrongful

         conduct as pleaded herein.

         WHEREFORE, Plaintiffs demand judgment against the Defendants, jointly and severally

as follows:

         A)      Compensatory damages in an amount greater than Twenty-Five Thousand

                 Dollars ($25,000.00);

         B)      Punitive damages in an amount greater than Twenty-Five Thousand Dollars

                 ($25,000.00);

         C)      The costs of this action to include reasonable attorney fees, prejudgment interest,

                 post-judgment interest and to such other and further relief to which Plaintiffs may

                 be entitled.




                                                   10
Case: 3:14-cv-00015-WHR Doc #: 2 Filed: 01/17/14 Page: 11 of 11 PAGEID #: 56




                                                 Respectfully submitted,


                                                 /s/ Dwight D. Brannon
                                                 Dwight D. Brannon (0021657)
                                                 Matthew C. Schultz (0080142)
                                                 BRANNON & ASSOCIATES
                                                 130 W. Second St., Suite 900
                                                 Dayton, OH 45402
                                                 Tel.: (937) 228-2306
                                                 Fax: (937) 228-8475
                                                 E-mail:dbrannon@branlaw.com
                                                         mschultz@branlaw.com

                                    JURY DEMAND

   Plaintiffs respectfully demand a trial by jury on all issues presented herein.


                                                 /s/ Dwight D. Brannon
                                                 Dwight D. Brannon (0021657)




                                            11
